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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

JOHN PAUL DEJORIA                               §
                                                §
V.                                              §            A-13-CV-654-RP-AWA
                                                §
MAGHREB PETROLEUM                               §
EXPLORATION, S.A. and                           §
MIDEAST FUND FOR                                §
MOROCCO LIMITED                                 §

                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE ROBERT PITMAN
       UNITED STATES DISTRICT JUDGE

       Before the Court are: John Paul DeJoria’s Motion For Non-Recognition (Dkt. No. 128);

MPE’s and MFM’s Response to DeJoria’s Motion for Non-Recognition (Dkt. No. 129); Reply in

Support of John Paul DeJoria’s Motion for Non-Recognition (Dkt. No. 130); MPE/MFM’s Sur-reply

(Dkt. No. 133);1 and Brief of the State of Texas as Amicus Curiae in Support of Counterclaim

Defendant John Paul DeJoria (Dkt. No. 135).

       The District Court referred the above-matter to the undersigned Magistrate Judge for a report

and recommendation pursuant to 28 U.S.C. §636(b) and Rule 1(c) of Appendix C of the Local Rules.

                               I. FACTUAL BACKGROUND

       As summarized by the Court of Appeals for the Fifth Circuit, the factual background of this

case is as follows:

       John Paul DeJoria (“DeJoria”) was a major investor in an American company called
       Skidmore Energy, Inc. (“Skidmore”), which was engaged in oil exploration and


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        The Court has reconsidered its previous ruling denying MPE/MFM leave to file a sur-reply
and now GRANTS the Motion for Leave to File a Sur-Reply (Dkt. No. 133). Thus, the Court has
considered the arguments contained in the Sur-Reply.
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technology projects in Morocco. In pursuit of its goals, Skidmore formed and
capitalized a Moroccan corporation, Lone Star Energy Corporation (“Lone Star”)
(now Maghreb Petroleum Exploration, S.A., or “MPE”). Corporations established
under Moroccan law are required to have a “local” shareholder. For Lone Star, that
local shareholder was Mediholding, S.A., owned by Prince Moulay Abdallah Alaoui,
a first cousin of the Moroccan King, King Mohammed VI.

In March 2000, Lone Star entered into an “Investment Agreement” obligating it to
invest in hydrocarbon exploration in Morocco. King Mohammed assured DeJoria
that he would line up additional investors for the project to ensure adequate funding.
Armadillo Holdings (“Armadillo”) (now Mideast Fund for Morocco, or “MFM”), a
Liechtenstein-based company, agreed to make significant investments in Lone Star.
In the negotiations leading up to this agreement, Skidmore represented to Armadillo
that Skidmore previously invested $27.5 million in Lone Star and that Lone Star's
market value was roughly $175.75 million.

On August 20, 2000, King Mohammed gave a nationally televised speech to
announce the discovery of “copious and high-quality oil” in Morocco. Three days
later, then-Moroccan Minister of Energy Youssef Tahiri, accompanied by DeJoria
and DeJoria's business partner Michael Gustin, traveled to the site and held a press
conference claiming that the discovered oil reserves would fulfill Morocco's energy
needs for decades. Moroccans celebrated this significant news, as the King's
announcement was the only stimulus likely to revive Morocco's sluggish economy.
The Moroccan stock market soared.

There was one major problem: the oil reserves were not as plentiful as announced.
The “rosy picture” of Moroccan energy independence did not materialize, damaging
both the Moroccan government's credibility and Lone Star's viability. As a result, the
business relationship between MFM and Skidmore/DeJoria suffered. Lone Star
replaced DeJoria and Gustin on Lone Star's Board of Directors. DeJoria has not been
to Morocco since 2000 and claims that his life would have been endangered had he
returned.

Unhappy with the return on its initial investment in Lone Star, MFM sued Skidmore,
DeJoria, Gustin, and a number of other Skidmore officers in their individual
capacities in Moroccan court. MFM asserted that Skidmore fraudulently induced its
investment by misrepresenting Skidmore's actual investment in Lone Star. MPE later
joined as a plaintiff in the suit and claimed that Skidmore's fraudulent
misrepresentations deprived Lone Star of necessary capital. In response, Skidmore
filed two quickly-dismissed lawsuits against MPE, MFM, and other parties in the
United States.




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       After nearly seven years of considering MPE and MFM's suit, the Moroccan court
       ruled against DeJoria and Gustin but absolved five of their co-defendants—including
       Skidmore—of liability. The court entered judgment in favor of MPE and MFM for
       approximately $122.9 million.

Dejoria v. Maghreb Petroleum Exploration, S.A., 804 F.3d 373, 384 (5th Cir. 2015), cert. denied,

136 S.Ct. 2486 (2016).

                             II. PROCEDURAL BACKGROUND

A.     Original District Court Proceedings

       After the Moroccan court entered the $122.9 million judgment against DeJoria, he sued MPE

and MFM in Texas state court, challenging recognition of the judgment under the previous version

of Texas’s Uniform Foreign Country Money-Judgment Recognition Act (hereinafter the “1981 Texas

Recognition Act”).2 MPE/MFM removed the action to federal district court based on diversity of

citizenship and the case was assigned to United States District Judge James R. Nowlin. Dejoria then

filed a “Motion for Nonrecognition of Foreign Judgment” in the District Court arguing that the

Moroccan judgment should not be recognized under the 1981 Texas Recognition Act because: (1)

the judgment was rendered under a system that does not provide impartial tribunals or procedures

compatible with the requirements of due process of law; (2) the Moroccan court lacked personal

jurisdiction over DeJoria; (3) the cause of action on which the judgment is based is repugnant to the

public policy of Texas; (4) the court rendering the judgment is a seriously inconvenient forum for

the trial of the action; (5) Moroccan courts do not recognize Texas judgments; (6) the judgment was

not final and conclusive; and (7) the judgment was not authenticated.




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       Act of May 15, 1981, 67th Leg., R.S., ch. 808, § 1 (codified at TEX. CIV. PRAC. & REM.
CODE §§ 36.001, et seq.) (amended 2017; current version at TEX. CIV. PRAC. & REM. CODE
§36A.001, et seq.).

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       The District Court began and ended its analysis with DeJoria’s first argument, finding that

the Moroccan Judgment should not be recognized under § 36.005(a)(1) of the 1981 Texas

Recognition Act (“the judgment was rendered under a system that does not provide impartial

tribunals or procedures compatible with the requirements of due process of law”). DeJoria v.

Maghreb Petroleum Exploration, S.A., 38 F. Supp.3d 805 (W.D. Tex. 2014), rev'd and remanded,

804 F.3d 373 (5th Cir. 2015). The District Court found that Moroccan judges are not independent

and are susceptible to being pressured by members of the Moroccan royal family, finding that

       the Moroccan royal family’s commitment to the sort of independent judiciary
       necessary to uphold the rule of law has and continues to be lacking in ways that raise
       serious questions about whether any party that finds itself involved in a legal dispute
       in which the royal family has an apparent interest—be it economic or political—in
       the outcome of the case could ever receive a fair trial.

Id. at 812. Based on the evidence before it, the District Court held that “DeJoria or some similarly

situated party” could not have received adequately fair procedures to warrant enforcement of the

Moroccan judgment. Id. at 818. The District Court concluded, “[a]bsent an act of tremendous

bravery by the judge, there is no conceivable set of facts or circumstances in which DeJoria could

have prevailed in the underlying case. Such a proceeding is not, was not, and can never be

‘fundamentally fair.’” Id.

B.     The Fifth Circuit’s Opinion

       MPE/MFM appealed the District Court’s ruling to the Court of Appeals for the Fifth Circuit,

arguing that the judgment should be reversed because DeJoria had failed to meet his burden to prove

that the entire Moroccan judicial system does not meet due process standards as required under §

36.005(a)(1) of the 1981 Texas Recognition Act. The Fifth Circuit agreed and held that DeJoria had

failed to meet his heavy burden under § 36.005(a)(1) to demonstrate that the Moroccan judicial



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system “as a whole is so lacking in impartial tribunals or procedures compatible with due process

so as to justify routine non-recognition of the foreign judgments.” Dejoria, 804 F.3d at 382. The

Court found that ‘[t]he Moroccan judicial system does not present an exceptional case of ‘serious

injustice’ that renders the entire system fundamentally unfair and incompatible with due process.”Id

at 384. The Fifth Circuit also rejected DeJoria’s alternative arguments that the Moroccan court

lacked personal jurisdiction over him, and that Moroccan courts do not recognize Texas judgments.

Id. at 384-387. The Court did not address DeJoria’s public policy and inconvenient forum claims,

however, stating in a footnote that those “arguments were not raised on appeal and are thus waived.”

Id. at 384 n.12. The Fifth Circuit concluded its Opinion with the boilerplate directive: “For the

foregoing reasons the judgment of the district court is REVERSED and this matter is REMANDED

for further proceedings consistent with this opinion.” Id. at 389.3 On June 20, 2016, the Supreme

Court denied the petition for writ of certiorari. Dkt. No. 84.

C.     Proceedings after Remand

       After remand, the case was referred to the undersigned. The parties disagreed on the scope

of the Court’s authority on remand to consider DeJoria’s alternative arguments for non-recognition.

After a delay to await the Supreme Court’s decision on DeJoria’s petition for writ of certiorari, the

undersigned concluded that DeJoria was entitled to raise two alternative arguments that were not

addressed on the merits in either the trial court or the Circuit, and on September 7, 2016, Judge

Nowlin adopted the undersigned’s recommendation on this issue. On September 19, 2016, Judge

Nowlin transferred the case to United States District Judge Robert Pitman.


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        The Fifth Circuit denied DeJoria’s Petition for Rehearing and request to clarify its use of the
word “waived” in footnote 12 regarding the public policy and inconvenient forum arguments. Dkt.
No. 63.

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       The Court then set a status conference to address the logistics of disposing of the remaining

issues, at which DeJoria informed the Court that he wished to seek leave to amend his complaint to

add two new claims: (1) a defense to enforcement of the Moroccan judgment based on the Due

Process Clause of the United States Constitution, and (2) a counterclaim to enjoin recognition and

enforcement of the Moroccan judgment based on fraud. On November 30, 2016, the undersigned

recommended that the District Court grant the motion to leave to add a defense to enforcement of

the Moroccan judgment based on the Due Process Clause, but deny the motion for leave to add a

counterclaim to enjoin recognition and enforcement of the Moroccan judgment based on fraud. On

February 14, 2017, the District Court adopted the Report and Recommendation. Dkt. No. 114.

       On April 23, 2017, the undersigned ordered the Parties to file briefing on DeJoria’s Motion

for Non-Recognition by July 31, 2017. Dkt. No. 121.4 However, on June 1, 2017, the Texas

Legislature repealed the 1981 Texas Recognition Act and enacted an updated version of the Act.

See Uniform Foreign-Country Money Judgments Recognition Act, Act of May 22, 2017, 85th Leg.,

R.S., ch. 390 (codified at TEX. CIV. PRAC. & REM. CODE § 36A.001, et seq.). Because the statute

had a direct impact on issues before the Court and the legislature made the statute retroactive to

pending cases, the Court extended the Parties’ briefing deadlines in the case.

       DeJoria argues in his Motion for Non-Recognition that the Moroccan judgment should not

be recognized because: (1) the Moroccan judgment falls squarely within the Amended Act’s



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        At this time, the issues were whether the Moroccan judgment should not be recognized
because: (1) the cause of action on which the judgment is based is repugnant to the public policy of
Texas under § 36.005(b)(3) of the 1981 Texas Recognition Act; (2) the Moroccan court which
rendered the judgment was a seriously inconvenient forum for the trial of the case under
§ 36.005(b)(6) of the 1981 Texas Recognition Act, or (3) recognition of the judgment would violate
DeJoria’s right to due process under the Fourteenth Amendment.

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provisions allowing non-recognition where the particular foreign proceedings lacked due process or

where there is substantial doubt about the integrity of the rendering court with respect to the

judgment; (2) the Due Process Clause of the United States Constitution prohibits enforcing the

Moroccan judgment; and (3) the Moroccan judgment is repugnant to Texas public policy.

       In response, MPE/MFM argue that the Court should recognize the Moroccan judgment

against DeJoria because (1) Judge Nowlin’s opinion is “null and void” after the Fifth Circuit

reversed it and DeJoria, therefore, cannot satisfy his burden of proof by relying on it; (2) DeJoria’s

“integrity of the rendering court” and “specific proceeding” challenges under §§ 36A.004(c)(7) &

(c)(8) fail as a matter of fact and law; (3) DeJoria’s failure to participate in Morocco defeats his

§§36A.004(c)(7) and (c)(8) challenges; (4) DeJoria’s Due Process Clause challenge duplicates his

statutory challenges and fails as a matter of fact and law; (5) the Moroccan judgment is consistent

with Texas and U.S. public policy and is based on substantial evidence of DeJoria’s personal

involvement, fraud, and misconduct; and (6) retroactively applying the Amended Act violates the

Texas Constitution.

                                         III. ANALYSIS

       As noted, after the remand of this case by the Fifth Circuit, the Texas Legislature repealed

the 1981 Texas Recognition Act and replaced it with the updated model statute produced by the

National Conference of Commissioners on Uniform State Laws. The bill’s sponsor stated that the

bill “updates the Act based on the 2005 Uniform Foreign-Country Money Judgments Recognition

Act, ensuring that Texans enjoy due process protection when defending against foreign country

judgments in Texas courts.” Bill Analysis, S.B. 944, 85th Leg., R.S. (March 21, 2017). The




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Amended Act retained the prior statute’s grounds for non-recognition, including the mandatory due

process requirement, but adds the following case-specific bases for non-recognition:

       (7)     the judgment was rendered in circumstances that raise substantial doubt about
               the integrity of the rendering court with respect to the judgment;

       (8)     the specific proceeding in the foreign court leading to the judgment was not
               compatible with the requirements of due process of law.

Id. at §§ 36A.004(c)(7) & (8). In addition, the Amended Act now permits non-recognition when “the

judgment or the cause of action on which the judgment is based is repugnant to the public policy of

this state or the United States.” Id. at § 36A.004(c)(3). Each of these new grounds for non-

recognition are discretionary grounds. The new amendments apply to all pending lawsuits, such as

the instant case, without regard to whether the suit was commenced before or after the effective date

of the Act (June 1, 2017). TEX. CIV. PRAC. & REM. CODE § 36A.004 historical note (West 2017

Supp.) [Act of May 22, 2017, 85th Leg., § 3 (S.B. 944)].

       As was the case under the previous version, the party resisting recognition of the foreign

judgment—here DeJoria—has the burden of establishing a ground for nonrecognition exists.

Amended Act at § 36A.004(d); Diamond Offshore (Bermuda), Ltd. v. Haaksman, 355 S.W.3d 842,

845 (Tex. App.–Houston [14th Dist.] 2011, pet. denied) (“Unless the judgment debtor satisfies its

burden of proof by establishing one or more of the specific grounds for nonrecognition, the court is

required to recognize the foreign judgment.”).

A.     Does the Amended Act’s Retroactivity Clause Violate the Texas Constitution?

       Section 3 of the Amended Act provides: “This Act applies to a pending suit in which the

issue of recognition of a foreign-country money judgment is or has been raised without regard to

whether the suit was commenced before, on, or after the effective date [June 1, 2017] of this Act.”


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Amended Act § 36A.004 historical note (West 2017 Supp.) [Act of May 22, 2017, 85th Leg., § 3

(S.B. 944)].    MPE/MFM argue that this section of the Amended Act violates the Texas

Constitution’s prohibition on retroactive laws.

       1.      Standard of Review

       “Texas courts afford state statutes a strong presumption of constitutionality under the Texas

Constitution.” Miller v. Raytheon Co., 716 F.3d 138, 148 (5th Cir. 2013) (citing Walker v.

Gutierrez, 111 S.W.3d 56, 66 (Tex. 2003)); see also, Robinson v. Crown Cork & Seal Col., Inc., 335

S.W.3d 126, 146 (Tex. 2010). Therefore, in addressing the constitutionality of a statute, courts must

“begin with a presumption that it is constitutional.” Enron Corp. v. Spring Indep. Sch. Dist., 922

S.W.2d 931, 934 (Tex. 1996). “Courts presume that the Legislature ‘understands and correctly

appreciates the needs of its own people, that its laws are directed to problems made manifest by

experience, and that its discriminations are based upon adequate grounds.’” Id. (quoting Smith v.

Davis, 426 S.W.2d 827, 831 (Tex.1968)). The party challenging the constitutionality of a statute

bears the burden of demonstrating that the enactment fails to meet constitutional requirements.

Enron Corp., 922 S.W.2d at 934 (Tex. 1996).               Because of this strong presumption of

constitutionality, the Texas Supreme Court has invalidated statues as prohibitively retroactive in only

four cases – all of which involved extensions of statutes of limitations. See Robinson, 335 S.W.3d

at 146 (citing cases).

       2.      Article I, Section 16 of the Texas Constitution

       The Texas Constitution provides that: “No bill of attainder, ex post facto law, retroactive law,

or any law impairing the obligation of contracts, shall be made.” Tex. Const. Art. I, § 16. The

constitutional prohibition on retroactive laws “protects the peoples’s reasonable, settled


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expectations” and “protects against abuses of legislative power.” Robinson, 335 S.W.3d at 139. The

Texas Supreme Court has defined a retroactive law as “a law that acts on things which are past.”

Subaru of Am., Inc. v. David McDavid Nissan, Inc., 84 S.W.3d 212, 219 (Tex. 2002). “Mere

retroactivity is not sufficient to invalidate a statute. . . . Most statutes operate to change existing

conditions, and it is not every retroactive law that is unconstitutional.” Robinson, 335 S.W.3d at 139

(quoting Texas Water Rights Comm’n v. Wright, 464 S.W.2d 642, 648 (Tex. 1971)); see also, Union

Carbide Corp. v. Synatzske, 438 S.W.3d 39, 55 (Tex. 2014). While there is “[n]o bright-line test”

for determining whether a statute is unconstitutionally retroactive, the Texas Supreme Court has

directed courts to look at three factors: (1) the nature and strength of the public interest served by the

statute as evidenced by the Legislature’s factual findings; (2) the nature of the prior right impaired

by the statute; and (3) the extent of the impairment. Robinson, 335 S.W.3d at 145.

        a.      Public Interest Served by the Statute

        In Robinson, the Texas Supreme Court stated that “[t]here must be a compelling public

interest to overcome the heavy presumption against retroactive laws.” Robinson, 335 S.W.3d at 146.

The legislative record in this case indicates that the Legislature enacted the Amended Act after the

Fifth Circuit’s decision in this case in order to protect the due process protections for Texas citizens

involved in international business. The bill’s sponsor in the Texas Senate explained the intent of the

legislation:

        A recent federal court decision called into question whether the Texas Act protects
        Texans’ individual due process rights by foreign court systems. S.B. 944 updates the
        Act based on the 2005 Uniform Foreign-Country Money Judgments Recognition Act,
        ensuring that Texans enjoy due process protection when defending against foreign
        country judgments in Texas courts.

        According to the Uniform Law Commission, the increase in international trade in the
        United States has also meant more litigation in foreign judicial systems. This means

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       more judgments to be enforced from country to country. There is strong need for
       uniformity between states with respect to the law governing foreign country
       money-judgments. There is also a strong public policy need to make sure basic
       individual protections and rights are recognized in any foreign court system that
       attempts to use our Texas courts to enforce their judgments on our citizens and
       businesses.

       Unfortunately, not all foreign court systems honor basic individual and system due
       process protections recognized by U.S. state courts (such as the Texas state court
       system). The provisions of S.B. 944 ensure that Texans' individual due process rights
       continue to be recognized by foreign judicial systems before those foreign judgments
       are enforced by Texas courts.

Bill Analysis, S.B. 944, 85th Leg., R.S. (March 21, 2017). The stated purpose of the Amended Act

is thus to greater protect the due process rights of Texas citizens. Obviously, protecting the due

process rights of its citizens is a compelling public interest. See Carey v. Piphus, 435 U.S. 247, 266

(1978) (“[T]he right to procedural due process is “absolute.”); Boddie v. Connecticut, 401 U.S. 371,

374 (1971) (“At its core, the right to due process reflects a fundamental value in our American

constitutional system.”).

       While MPE/MFM cannot dispute that the Amended Act serves a compelling public interest,

they argue that as was the case in Robinson, the Amended Act was enacted only to benefit DeJoria

and no one else and thus it was not in the public interest. But the facts in this case are easily

distinguishable from Robinson. There, Barbara and John Robinson sued Crown Cork & Seal, the

successor to John’s former employer, alleging that John contracted mesothelioma due to asbestos

exposure. 335 S.W.3d 126. After the lawsuit had proceeded to the discovery stage, the Legislature

enacted Chapter 149 of the Texas Civil Practice and Remedies Code, which altered the choice of law

rules in successor-liability asbestos cases. Id. at 130. The statute functioned to absolve Crown Cork

& Seal of liability for John’s mesothelioma and barred the Robinsons’ claims. Id. at 132-33. The

trial court granted summary judgment to Crown Cork & Seal based on Chapter 149’s limitation of

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liability. Id. at 133. The Robinsons appealed, arguing that Chapter 149 was a retroactive law in

violation of the Texas Constitution. Id. Looking to whether Chapter 149 served the public interest,

the Texas Supreme Court found that “the legislative record is fairly clear that chapter149 was

enacted to help only Crown and no one else.” Id. at 149. The Court emphasized that “[t]he

Legislature made no findings to justify Chapter 149.” Id. “The only public benefit achieved by the

statute was the reduction of Crown Cork & Seal’s liability due to asbestos litigation—a benefit we

declined to find sufficiently compelling to overcome the presumption that retroactive laws are

unconstitutional.” Union Carbide, 438 S.W.3d 39 at 57. Under the second and third factors, the

Court found that the legislation significantly impacted a substantial interest the Robinsons had in a

well-recognized common law cause of action. Robinson, 335 S.W.3d at 149. Given the minimal

public interest served and the grave impact on the Robinsons’ right to recover, the Court held that

Chapter 149 was unconstitutionally retroactive. Id. at 150.

        In contrast to Robinson, the Legislature’s stated purpose for adopting the Amended Act (as

explained above) was to better protect Texans’ due process rights with regard to the enforcement of

foreign judgments. Unlike the case in Robinson, the Legislature did not enact the legislation to

abrogate a plaintiff’s common law cause of action in order to benefit one corporate party. In

addition, the fact that DeJoria lobbied for the passage of the Amended Act and may have directly

benefitted from that legislation does not mean that the Amended Act is not in the public interest.

By the express terms of the statute, its application is not limited just to DeJoria and instead provides

due process protection to all similarly situated parties.




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       b.      Nature of the Rights and Extent of Their Impairment by the Statute

       Even if MPE/MFM could demonstrate that the Amended Act was not in the public interest,

the other two Robinson factors clearly demonstrate that the Amended Act does not violate the Texas

Constitution. The second and third prongs of the Robinson test consider “the nature of the prior right

impaired by the statute,” and “the extent of the impairment.” Robinson, 335 S.W.3d at 145.

       MPE/MFM have failed to identify what prior right was impaired by the Amended Act.

Instead, MPE/MFM argue that the “new Act changed the controlling law and provided DeJoria with

two new non-recognition grounds in §§ (c)(7) and (c)(8) and altered the § (c)(3) policy ground.”

Dkt. No. 129 at 50. Unlike the case in Robinson where the statute entirely extinguished the

plaintiff’s common law causes of action against the corporate defendant, the Amended Act does not

eliminate any of MPE/MFM’s grounds for recognition of the foreign judgment in this case. Instead,

it simply provides additional grounds for non-recognition. Statutes “that do not deprive the parties

of a substantive right . . . may be applied to cases pending at the time of enactment.” Univ. of Texas

Sw. Med. Ctr. at Dallas v. Estate of Arancibia ex rel. Vasquez-Arancibia, 324 S.W.3d 544, 548 (Tex.

2010); see also, Robinson, 335 S.W.3d at 146. MPE/MFM have failed to demonstrate that the

Amended Act impaired any of their rights whatsoever.

       Accordingly, the Court rejects MPE/MFM’s contention that the Amended Act cannot be

applied retroactively to this case.

B.     Amended Act

       DeJoria devotes the majority of his briefing to argue that the Court should not recognize the

Moroccan judgment based on § 36A.004(c)(8) of the Amended Act, and the Court will do the same.

That section is a discretionary provision which provides that a court is not required to recognize a



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foreign judgment if “the specific proceeding in the foreign court leading to the judgment was not

compatible with the requirements of due process of law.” Amended Act at § 36A.004(c)(8). The

Amended Act does not define “due process of law.” However, the Comments to the 2005 Uniform

Act, which the Amended Act was modeled on, explain that this subsection “allows the forum court

to deny recognition to the foreign-country judgment if the court finds that the specific proceeding

in the foreign court was not compatible with the requirements of fundamental fairness.” Unif.

Foreign-Country Money Judgments Recognition Act § 4 at comment 12 (emphasis added).5 In

looking at the meaning of due process of law as used in § 36.005(a)(1) of the 1981 Texas

Recognition Act, the Fifth Circuit stated “the statute requires only the use of procedures compatible

with the requirements of due process” and that “the foreign proceedings need not comply with the

traditional rigors of American due process to meet the requirements of enforceability under the

statute.” DeJoria, 804 F.3d at 380 (quoting Soc’y of Lloyd’s v. Turner, 303 F.3d 325, 330 (5th Cir.

2002)). “That is, the foreign judicial system must only be ‘fundamentally fair’ and ‘not offend

against basic fairness.’” Id. The United States Supreme Court has repeatedly held that “[a] fair trial

in a fair tribunal is a basic requirement of due process.” Caperton v. A.T. Massey Coal Co., 556 U.S.

868, 876 (2009) (quoting In re Murchison, 349 U.S. 133, 136 (1955)). In the context of foreign




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         As the comments to the 2005 Uniform Act explain: “While the focus of subsection 4(b)(1)
is on the foreign country’s judicial system as a whole, the focus of subsection 4(c)(8) is on the
particular proceeding that resulted in the specific foreign-country judgment under consideration.
Thus, the difference is that between showing, for example, that there has been such a breakdown of
law and order in the particular foreign country that judgments are rendered on the basis of political
decisions rather than the rule of law throughout the judicial system versus a showing that for political
reasons the particular party against whom the foreign-country judgment was entered was denied
fundamental fairness in the particular proceedings leading to the foreign-country judgment.” Unif.
Foreign-Country Money Judgments Recognition Act § 4 at comment 12.

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judgments, the Supreme Court has also noted that “[i]t must, however, always be kept in mind that

it is the paramount duty of the court before which any suit is brought to see to it that the parties have

had a fair and impartial trial.” Guyot, 159 U.S. 113, 205 (1895); see also, Bank Melli Iran v.

Pahlavi, 58 F.3d 1406, 1410 (9th Cir.) cert. denied, 516 U.S. 989 (1995).6

        1.       The Record

        DeJoria contends that, under the new statute, the facts found by Judge Nowlin in the original

proceedings make it a foregone conclusion that DeJoria has demonstrated the requirements of non-

recognition under § 36A.004(c)(8) of the Amended Act. In response, MPE/MFM open their post-

remand briefing by contending that “Judge Nowlin’s opinion is null and void after the Fifth Circuit

reversed it, and DeJoria cannot satisfy his burden of proof by relying on it.” Dkt. No. 129 at 1. They

further contend that the Circuit already made the relevant findings, and these findings are the law

of the case and bind this Court on remand.

        The problem with MPE/MFM’s argument on this issue is what they do not say. If the

findings Judge Nowlin originally made are “null and void,” are they suggesting that completely new

findings need to be made on remand? If so, they do not say this directly. Or, are they contending

that no new findings are needed, because the Circuit’s opinion already considered the record and

made all of the relevant findings? Though at times their brief reads as if this is their position, the

fact that MPE/MFM devote over half of their briefing to a discussion of the facts seems to belie this.

At the end of the day, it is not at all clear what MPE/MFM are arguing with regard to the factual




        6
         Although MPE/MFM emphasize that the foreign procedures need not comply with “the
traditional rigors of American due process,” they do not dispute that due process of law under the
Amended Act would also require the right to a fair tribunal in the individual case itself.

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record. Given this state of affairs, it is important for the Court to state precisely what its conclusions

are on this point.

        First, with regard to what the universe of evidence before the court is, the parties agreed that

the record for this Court on remand would be the record that was created before Judge Nowlin. At

the status conference to address the briefing and process on remand, the Court specifically inquired

whether there would be need for any additional evidence, or whether the record created during the

proceedings before Judge Nowlin would remain the record on remand:

        THE COURT:              The—so do I take that, then, that you don't think there’s any need for
                                any additional—anything to add to the factual record. We’re fine with
                                the factual record that the Court has.

        MR. ENOCH:              Your Honor, we believe we are.
        [for DeJoria]

Dkt. No. 105 at 6. For his part, Mr. Harrison (on behalf of MPE/MFM) was less direct, id. at 7-10,

but when considered in full, his response also indicates that he believed the record that existed would

remain the record on which the Court would make its findings on remand. First, he suggested that

there should be no more briefing, as the two issues that originally remained to be decided (before the

change in the law) had already been briefed prior to the appeal, and the Court could simply make its

decision on those briefs. (Those briefs, of course, were based on the record created before Judge

Nowlin.) Second, when he summed up his position, he commented that, “On remand, the Court

looks at the record and decides.” Id. at 8.

        Despite this, and though they did not seek leave to submit any additional evidence on

remand, MPE/MFM included a number of new exhibits with their briefing. Some of the new

material is simply legislative history related to the Texas Legislature’s adoption of the Amended Act.

Dkt. Nos. 129-31 to 129-38. Some are filings or transcripts from the Fifth Circuit proceedings in

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this case. Dkt. Nos. 129-25 to 129-28; 129-54. These are all things the Court can take judicial

notice of, and are thus unremarkable. But some of the exhibits are news articles and website

information intended to demonstrate that certain entities are owned by the Moroccan royal family,

as well as four judgments entered against those entities in Moroccan courts. Dkt. Nos. 129-39 to

129-52; 129-55; 129-56; and 129-58. MPE/MFM did not seek leave of court to supplement the

record with these items, and do not even acknowledge in their briefing that these materials are not

part of the record. As a result, the Court will not consider them.7

        2.      The Impact of the Reversal

        Though MPE/MFM are correct that the reversal of a judgment nullifies that judgment, and

makes it as if that judgment had never been rendered, that point was never in doubt. Rather the

question is, when a trial court’s judgment is reversed, and the case is remanded for further

proceedings, may the trial court re-adopt findings of fact made in the judgment, and if so, in what

circumstances? And to state the precise question presented here, when the reason the judgment was

reversed is that the trial court applied the wrong legal standard, what is the status of the previously-

made fact findings? On direct appeal, the Supreme Court has relied on findings of fact made by a

district court, despite finding that the court applied the wrong legal standard, suggesting that such

fact findings maintain validity even when the trial court gets the law wrong. See, e.g., Ford Motor

Co. v. EEOC, 458 U.S. 219, 224 n.7 (1982); Goldfarb v. Virginia State Bar, 421 U.S. 773, 783 n.10



       7
         Consideration of the material would not have changed the outcome. These evidence merely
shows is that in the years after the judgment against DeJoria, Moroccan courts entered judgments
in four cases against entities in which the Moroccan royal family owned an interest. As DeJoria
notes, unlike his case, these were run-of-the-mill commercial cases, with no political overtones, and
no issue of the King needing to “save face.” And the largest of the judgments was approximately
$750,000, while the judgment here was for over $120 million.

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(1975). This conclusion is consistent with common sense, and, more importantly, with the law of

the case doctrine. That doctrine provides that “an issue of law or fact decided on appeal may not be

reexamined either by the district court on remand or by the appellate court on a subsequent appeal.”

Tollett v. City of Kemah, 285 F.3d 357, 364 (5th Cir.), cert. denied, 537 U.S. 883 (2002). When a

case is reversed because the wrong legal standard was applied, in most instances the fact findings

are “untouched” by that ruling, because “the law of the case doctrine applies only to issues that were

actually decided, rather than all questions in the case that might have been decided, but were not.”

Alpha/Omega Ins. Servs., Inc. v. Prudential Ins. Co. of Am., 272 F.3d 276, 279 (5th Cir. 2001)

(citation omitted) (emphasis added). So “when a judgment has come before us for review, and

certain findings of fact were not examined in, relied on, or otherwise necessary to our decision in that

appeal, law of the case does not prevent the trial court on remand from reexamining those findings

. . . .” See Exxon Corp. v. United States, 931 F.2d 874, 878 (Fed. Cir. 1991).

        Notwithstanding MPE/MFM’s valiant attempts to characterize the decision otherwise, in

reversing Judge Nowlin, the Fifth Circuit expressly concluded that he applied the wrong legal

standard, and, on that basis, reversed his ruling. A simple review of both opinions makes this clear.

In his order, Judge Nowlin only addressed one of DeJoria’s non-recognition arguments —DeJoria’s

argument under § 36.005(a)(1) of the 1981 Texas Recognition Act. He began and ended his analysis

with this issue, and found that the Moroccan proceedings in DeJoria’s case did not provide DeJoria

with adequate due process to warrant recognition of the judgment against him under § 36.005(a)(1).

DeJoria, 38 F. Supp.3d at 811. Although Judge Nowlin at times discussed the lack of due process

in the Moroccan system as a whole, his focus was on the political and economic bias that impacted

DeJoria’s specific case:



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       As a general matter, MPE/MFM's suggestion that the circumstances surrounding the
       case do not warrant real concerns that the King or royal family corrupted the judicial
       proceedings is simply not credible. Id. at 815

                                               * * *

       [T]he likelihood that DeJoria could have or did receive a fair hearing in which the
       outcome was not pre-ordained is too minimal to permit the Court to overlook the
       serious issues with both the system and the application present in this case. Id. at 817

                                               * * *

       Additionally, the evidence plainly shows that members of the royal family had a
       political and economic interest in the outcome of the underlying case. Id.

                                               * * *

       [T]here is no conceivable set of facts or circumstances in which DeJoria could have
       prevailed in the underlying case. Such a proceeding is not, was not, and can never be
       “fundamentally fair.” Id. at 818

                                               * * *


       On appeal, MPE/MFM argued that Judge Nowlin “incorrectly evaluated the particular

Morocco Court judgment at issue rather than properly evaluating whether ‘the judgment was

rendered under a system that does not provide impartial tribunals or procedures compatible with the

requirements of due process of law,’ as required under the [1981] Texas Recognition Act.’” Dkt.

No. 72-1 at 2 (emphasis original). MPE/MFM further argued that Judge Nowlin ignored Fifth

Circuit precedent requiring courts to focus on whether the entire country’s judicial system as a whole

was incompatible with due process and “erroneously applied a ‘retail approach’ to evaluate the

‘particular judgment’ at issue instead of evaluating Morocco’s judicial ‘system’ in which the




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judgment was rendered.” Id. at p. 20. The Fifth Circuit agreed and reversed Judge Nowlin.8 In doing

so, the Circuit emphasized that a court’s focus under § 36.005(a)(1) is on “the system as a whole:”

       The court’s inquiry under Section 36.005(a)(1) focuses on the fairness of the foreign
       judicial system as a whole . . . . The plain language of the Texas Recognition Act
       requires that the foreign judgment be “rendered [only] under a system that provides
       impartial tribunals and procedures compatible with due process.”

DeJoria, 804 F.3d at 381 (emphasis original). The Circuit concluded that, based on the record before

it, “we cannot agree that the Moroccan judicial system lacks sufficient independence such that fair

litigation in Morocco is impossible” and that “any judgment rendered by a Moroccan court is to be

disregarded as a matter of course.” Id. All throughout its opinion, the Circuit emphasized the

distinction between a system lacking fundamental fairness and a single instance of a litigant being

denied fundamental fairness. Indeed, in the eight pages of opinion discussing § 36.005(a)(1), the

Circuit used the word “system” no less than 36 times. Id. at 377-84. And because its focus was “on

the fairness of the foreign judicial system as a whole,” the Circuit specifically noted it would not

“parse the particular judgment challenged.” Id. at 381.

       The Circuit has noted that “[w]hile we recognize that ‘the law of the case’ doctrine

comprehends things decided by necessary implication as well as those decided explicitly, it

nevertheless applies only to issues that were decided and does not include determination of all

questions which were within the issues of the case and which, therefore, might have been decided.”

Conkling v. Turner, 138 F.3d 577, 587 (5th Cir. 1998) (internal quotations and citations omitted).

It does not apply to dicta. 18 CHARLES ALAN WRIGHT, ARTHUR R. MILLER & EDWARD H. COOPER,



       8
        The Fifth Circuit also rejected two of DeJoria’s alternative arguments (that the Moroccan
court lacked personal jurisdiction over him and that Moroccan courts do not recognize Texas
judgments), which had not been reached by Judge Nowlin, and which are not at issue here.

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FEDERAL PRACTICE AND PROCEDURE § 4478 (2d ed. 2002). The Fifth Circuit clearly stated that its

inquiry under § 36.005(a)(1) focused only on “the fairness of the judicial system as a whole.”

DeJoria, 804 F.3d at 382. Any discussion of whether the facts demonstrated something more or less

than this, therefore, was dicta. In Re Hearn, 376 F.3d 447, 453 (5th Cir. 2004) (relying on the

BLACK’S LAW DICTIONARY’s definition of dicta: “judicial comment made during the course of

delivering a judicial opinion, but one that is unnecessary to the decision in the case and therefore not

precedential”). Thus, the Fifth Circuit’s opinion contains no “law of the case” on whether “the

specific proceeding in the foreign court leading to the judgment was not compatible with the

requirements of due process of law.” Indeed, because § 36A.004(c)(8) of the Amended Act had yet

to be enacted, and because the Fifth Circuit expressly found that 1981 Texas Recognition Act did

not address due process at the case-specific level, the Circuit never addressed the question the

Amended Act presents here. So unless the Circuit either expressly or implicitly rejected Judge

Nowlin’s findings, those findings are alive and well, and may be re-adopted on remand.

        In apparent recognition of this, MPE/MFM also contend that “the Fifth Circuit weighed the

evidence and disagreed with Judge Nowlin.” Dkt. No. 129 at 4. In doing so, however, they grossly

overstate the Circuit’s findings; indeed, DeJoria’s characterization of the briefing is apt:

“MPE/MFM’s Response takes place in an alternate reality.” Dkt. No. 130 at 1. Nowhere did the

Circuit state that Judge Nowlin’s factual findings were erroneous or unsupported by the record;

instead, they focused on the legal standard applied, stated the correct standard, and then found the

facts were insufficient to meet that standard. Regardless, to hear MPE/MFM tell it, the Circuit

rejected each and every one of Judge Nowlin’s findings. A good example of MPE/MFM’s twisting

of the Circuit opinion is this statement:



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       •        [The Circuit] [f]ound unpersuasive DeJoria’s “claim[] that his life would have been
                endangered had he returned,” and held that “DeJoria could have litigated entirely
                through counsel without returning to Morocco.” Id. at 389.

Dkt. No. 129 at 6. Though only one page of the opinion is cited here, the two quoted statements

come from totally different parts of the opinion. The first—that DeJoria “claimed that his life would

have been endangered had he returned”—is in the very first pages of the opinion where the Circuit

is reciting the facts, and there is nothing there suggesting that the Circuit found DeJoria’s claim

“unpersuasive.” 804 F.3d at 378. The second quotation—that “DeJoria could have litigated entirely

through counsel without returning to Morocco”—is found 11 pages later, in the personal jurisdiction

discussion, and is merely a statement of law—that is, under Moroccan law a person is not required

to be personally present to defend a case, and may appear solely through counsel. Again, there is

nothing in this portion of the opinion where the Circuit challenges DeJoria’s claim that he would be

endangered if he traveled to Morocco. Thus, the cobbled-together quotation disingenuously makes

it appear as if the Circuit reached a factual conclusion that it plainly did not. And, to make matters

worse, when the entire factual record on this issue is reviewed, the evidence suggests the opposite

of what MPE/MFM claim.

       MPE/MFM get closer on this point when they discuss the Circuit’s statements in footnote

nine of its opinion. After its statement that “we cannot agree that the Moroccan judicial system lacks

sufficient independence such that fair litigation in Morocco is impossible,” the Circuit dropped the

following footnote:

       Although our inquiry focuses on Morocco’s judicial system, we also observe that the
       record does not establish that the King actually exerted any improper influence on the
       Moroccan court in this case. For example, the Moroccan court (1) appointed experts,
       (2) took seven years to reach a decision, (3) awarded a lesser judgment than the
       expert recommended, and (4) absolved five defendants—including DeJoria’s
       company Skidmore—of liability.

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DeJoria, 804 F.3d at 382 n. 9.9 But even this statement is plainly dicta and as discussed above, dicta

is not the law of the case. 18 WRIGHT, MILLER & COOPER at § 4478. “The law of the case doctrine

applies to an issue that has actually been decided, not to statements made by the court in passing, or

stated as possible alternatives, or dictum.” United States v. O’Keefe, 169 F.3d 281, 283 (5th Cir.

1999). The Fifth Circuit’s “observations” about whether the King actually exerted improper

influence on the Moroccan court in this case were not pertinent to the issue resolved on

appeal—whether the system as a whole was unfair—which is likely why that observation was

contained in a footnote. Because the Fifth Circuit “would have arrived at the same conclusion

without the passing observation it made in footnote [9],” which “could have been deleted without

seriously impairing the analytical foundations of the holding,” the footnote is dicta and does not bind

the Court on remand. Segura, 747 F.3d at 329. And again, because the appeal was not focused on

the matters mentioned in footnote nine, it is not surprising that, while the four enumerated facts are

indisputably true, there were significant deficiencies in the proceedings.

       At the end of the day, the Fifth Circuit did not decide—either explicitly or by necessary

implication—that the specific proceedings leading up to the Moroccan judgment against DeJoria

were compatible with the requirements of due process of law. Thus, the law of the case doctrine




       9
          MPE/MFM also argue that the Fifth Circuit’s comment in the background section of the
opinion (“[a]fter nearly seven years of considering MPE and MFM's suit, the Moroccan court ruled
against DeJoria and Gustin but absolved five of their co-defendants—including Skidmore—of
liability”) somehow demonstrates that the Fifth Circuit ruled that DeJoria’s specific proceedings did
not violate due process. This statement is not even dictum but rather a mere recitation of the facts
of the case.

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does not prevent the Court from reexamining the fact findings that the Circuit left undisturbed, and,

if appropriate, adopting them again on remand.10

        Which brings us to the final question on this point—since there is not a legal barrier to the

findings being re-adopted, should the Court do so? From a judicial efficiency standpoint, it of course

makes sense not to revisit each and every factual finding made by Judge Nowlin. This case has been

pending for almost five years. Judge Nowlin made the factual findings in this case after carefully

considering the evidence submitted by the parties in this case. It would be a waste of judicial

resources to reexamine all of the evidence in the case yet again. “A trial court could not operate if

it were to yield to every request to reconsider each of the multitude of rulings that may be made

between filing and judgment. . . . A presumption against reconsideration makes sense.” 18 WRIGHT,

MILLER & COOPER at § 4478.1.

        Similarly, the fact that the judge presiding over the case has changed does not mean the

findings should change. Judge Politz explained the underlying principles well in an unpublished

opinion from 2000:



        10
          The mandate rule—which is a corollary to the law of the case doctrine—does not change
the result. That rule “prohibits a district court on remand from reexamining an issue of law or fact
previously decided on appeal and not resubmitted to the trial court on remand.” United States v.
Pineiro, 470 F.3d 200, 205 (5th Cir. 2006). “This prohibition covers issues decided both expressly
and by necessary implication, and reflects the jurisprudential policy that once an issue is litigated and
decided, ‘that should be the end of the matter.’” Id. While a mandate controls “on all matters within
its scope . . . a district court on remand is free to pass upon any issue which was not expressly or
impliedly disposed of on appeal.” Newball v. Offshore Logistics Int’l, 803 F.2d 821, 826 (5th Cir.
1986). The Fifth Circuit’s mandate contained the general remand language: “It is ordered and
adjudged that the judgment of the District Court is reversed, and the cause is remanded to the District
Court for further proceedings in accordance with the opinion of this Court.” See Dkt. No. 63. “Such
general language suggests that the appellate court did not intend to decide a factual issue that was
not within its province. . . .” Chapman v. Nat’l Aeronautics & Space Admin., 736 F.2d 238, 242 (5th
Cir.), cert. denied, 469 U.S. 1038 (1984).

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       The “law of the case” doctrine is a common label used to describe what is really four
       distinct rules. Under each of its variations, the doctrine counsels the courts to refrain
       from revisiting issues that have been decided in the same case. Such is the result of
       the “sound policy that when an issue is once litigated and decided, that should be the
       end of the matter.” The impact given to the doctrine, however, depends on the
       circumstances: in some cases it is discretionary, in others it is mandatory.

       When applied to decisions by judges on the same district court without an
       intervening appeal, the doctrine represents a rule of comity, not a limit on judicial
       power. Generally speaking, “when a district judge has rendered a decision in a case,
       and the case is later transferred to another judge, the successor should not ordinarily
       overrule the earlier decision.” But unlike the doctrines of stare decisis and res
       judicata, the law of the case doctrine does not demand unwavering observance in this
       context. It must give way “to the interests of justice and economy when those
       interests are flouted by rigid adherence to the rule.”

Williams v. Bexar Cty, 2000 WL 1029171 (5th Cir. July 14, 2000) (footnotes and citations omitted).

Here, there are no “interests of justice” or “economy” suggesting that the normal rule—that a court

should “refrain from revisiting issues that have been decided in the same case”—should not apply

here. Thus, it would, absent good reason, be inappropriate for this judge to reweigh the very same

evidence that Judge Nowlin already weighed, merely because MPE/MFM believe that Judge Nowlin

should have reached different conclusions, and credited their evidence rather than DeJoria’s.

       Based upon the foregoing, in deciding whether DeJoria has carried his burden under the

Amended Act, the Court will rely upon facts found by Judge Nowlin, so long as those were not

rejected or questioned by the Circuit. Further, because the new statute expressly adopted a new

standard, the Court has also reviewed the existing record and made additional findings from that

evidence that are appropriate. “Absent contrary instructions, a remand for reconsideration leaves the

precise manner of reconsideration—whether on the existing record or with additional testimony or

other evidence—to the sound discretion of the trial court.” State Indus., Inc. v. Mor-Flo Indus., Inc.,

948 F.2d 1573, 1577 (Fed. Cir. 1991).



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       3.      Judge Nowlin’s Findings

       Judge Nowlin made the following findings relevant to whether DeJoria received due process

in the Moroccan proceedings specific to him, and the Court adopts these findings here:

       [T]the Moroccan royal family’s commitment to the sort of independent judiciary
       necessary to uphold the rule of law has and continues to be lacking in ways that raise
       serious questions about whether any party that finds itself involved in a legal dispute
       in which the royal family has an apparent interest—be it economic or political—in
       the outcome of the case could ever receive a fair trial. DeJoria, 38 F. Supp. 3d at
       812.

                                               * * *
       Together, the USAID report and the foreign minister’s comments paint a picture of
       a judicial system in which judges feel tremendous pressure to render judgments that
       comply with the wishes of the royal family and those closely affiliated with it. Id. at
       814.

                                               * * *
       As a general matter, MPE/MFM’s suggestion that the circumstances surrounding the
       case do not warrant real concerns that the King or royal family corrupted the judicial
       proceedings is simply not credible. Id. at 815.

                                                 * * *
       As for MPE/MFM’s suggestion that there is no evidence that the King particularly
       cared about DeJoria or his role in the Talsint oil project, the evidence plainly suggests
       otherwise. On Monday, January 27, 2007, “Le Journal,” a Moroccan daily
       newspaper, ran a feature story under the headline “The Talsint Oil Lie.” Citing a
       letter sent by Skidmore Chairman (and DeJoria partner) Michael Gustin to the King
       and other top officials, the article “accused the King and some officials of bribery and
       disinformation” in regards to Skidmore's exploration and attempted production of oil
       in south eastern Morocco in 2000. Neither the story nor the paper would survive for
       very long. The next day, Le Journal suddenly retracted the story, stating (without any
       meaningful explanation) that everything they had published was untrue. The paper
       also announced—again without any explanation—that it would voluntarily go out of
       circulation for an undisclosed period of time. Two days later, a sister publication
       reported that the author of the “offensive” Le Journal article (who also served as Le
       Journal's editor-in-chief) and Le Journal's publisher were both compelled to appear
       at the Justice Center so that they could be interrogated by criminal prosecutors about
       their involvement with the story. Id. (internal citations omitted)

                                                * * *



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Given the narrative power that [a] verdict [against them] would undoubtedly have,
MPE/MFM’s suggestion that a man who cared enough about maintaining his image
to intimidate and prosecute a whole paper into submission had no interest in the
outcome of a case which could either re-enforce his favored image or, alternatively,
make him appear foolish if not downright dishonest for having promised so much oil
during his now infamous speech simply does not add up.

These facts would have been readily apparent to any judge presiding over this case.
Given the King's history of retaliation, not only against judges who displease him but
against anyone who threatens his narrative relating to his involvement in Talsint, the
Court cannot conceive of any set of circumstances in which the presiding judge in the
underlying case would not have felt tremendous pressure to side with MPE/MFM.

                                       * * *

The King’s behavior suggests a strong preference that DeJoria be portrayed as a
fraudster who misled the King (since, if DeJoria did not, the King appears dishonest,
incompetent, or both in retrospect). Whether or not the King, Prince, or some other
official picked up the phone and ordered the judge to find against DeJoria is, in some
sense, beside the point. Even if no such phone call was ever made, the Court
nevertheless cannot, in good conscience, conclude that Morocco provided Mr.
DeJoria with adequate due process to warrant enforcement in this country.

                                       * * *

[T]he likelihood that DeJoria could have or did receive a fair hearing in which the
outcome was not pre-ordained is too minimal to permit the Court to overlook the
serious issues with both the system and the application present in this case. Id. at
816-817.

                                        * * *
Here, there is extensive evidence suggesting that Morocco’s judiciary is dominated
by the royal family (through no fault of the judiciary, which would prefer to be left
alone to do its job). Additionally, the evidence plainly shows that members of the
royal family had a political and economic interest in the outcome of the underlying
case. This is a deadly combination, for the confluence of circumstances makes it
highly likely that the royal family impacted the judicial oversight of a proceeding in
which they themselves had an interest. Id. at 817.

                                     * * *
“[A] common sense reading of the evidence” in this case unequivocally supports the
conclusion that John Paul DeJoria could not have expected to obtain a fair hearing
in Morocco had he attempted to fight the charges against him. While the evidence
plainly suggests that Morocco’s judges wish to obtain the freedom from pressure

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       necessary to impartially conduct the business of the court system, the evidence also
       reveals that any judge presiding over DeJoria’s case would have had to ignore either
       an explicit or implicit threat to his career—if not to his safety and well-being—in
       order to find against MPE/MFM. Absent an act of tremendous bravery by the judge,
       there is no conceivable set of facts or circumstances in which DeJoria could have
       prevailed in the underlying case. Such a proceeding is not, was not, and can never be
       “fundamentally fair.” Id. at 817-18.

       4.      Additional Factual Findings

       In addition to Judge Nowlin’s factual findings, the record in this case contains the following

evidence showing that DeJoria was denied due process in this case.

               a.      DeJoria’s Ability to Attend the Proceedings

       DeJoria contends that he was unable to personally appear at any of the court proceedings, as

he had a legitimate fear that either his safety or liberty would be at risk had he traveled to Morocco

once the dispute leading to the lawsuit arose. MPE/MFM contend that DeJoria has exaggerated the

threat, and also suggest that the Fifth Circuit has effectively rejected this argument. Dkt. No. 129

at 18-19. On the latter point, and as they do throughout their brief, MPE/MFM have significantly

overstated what the Circuit opinion says. The section of the opinion they quote from is addressing

DeJoria’s personal jurisdiction argument and DeJoria’s contacts with Morocco, and, moreover, is

looking at those contacts before the dispute arose. It says nothing about whether the Fifth Circuit

found DeJoria’s concern for his safety credible. The only record evidence that MPE/MFM offer to

controvert DeJoria’s claim comes from their retained expert’s affidavit, dated in 2013—a dozen

years after the relevant events—in which he brushes off Gustin and DeJoria’s fear as a simple “poor

understanding of Morocco.” Dkt. No. 37-1 at ¶ 54. But it is clear that DeJoria was not basing his

fear on some sort of misunderstanding, but instead on a specific death threat delivered to his business

partner. As Mr. Gustin explained:



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       On May 22, 2001, after having received a death threat in connection with Lone Star’s
       activities in Morocco, at a meeting of Lone Star’s Board of Directors, I resigned as
       Lone Star’s President/CEO and Chairman as a result of the death threat. I cannot
       reveal details of this threat without compromising the safety of innocent people still
       in Morocco. . . . I left the Board meeting in progress in Rabat, Morocco for the
       reason that I no longer felt secure as to my personal safety if I remained in Morocco
       and/or in my two executive positions with Lone Star. I left Morocco on May 23,
       2001, and I have never been back to Morocco since that time.

Dkt. No. 30-19 at ¶ 7. He further explained that “I told Mr. DeJoria that I understood the threat to

be directed at Mr. DeJoria, as well as at me, and that I believed it was unsafe for either me or Mr.

DeJoria to return to Morocco.” Id. at ¶ 8. DeJoria testified that immediately following the board

meeting, Gustin informed him of the threat, “and on many occasions thereafter, he related to me the

facts of the death threat and his concern for our personal safety should either of us ever return to

Morocco.” Dkt. No. 30-11 at ¶ 6. DeJoria’s own understanding, from this information, was that it

would not be safe for him to attend the court proceedings in Morocco. Id.

       And though MPE/MFM’s paid expert belittled these fears, third party attorneys who practiced

or resided in Morocco, and who addressed these issues during the relevant time frame, found the

fears credible. A French attorney, licensed to practice in Morocco, who was approached in 2005 by

Gustin on behalf of Skidmore to represent them, advised that “[c]learly it is . . . unsafe for Mr

GUSTIN and Mr DEJORJA to go to Morocco in a case involving his Highness Prince Moulay

Abdellah Alaoui, a first cousin of his Majesty King Mohammed VI, King of Morocco, and his

partners.” Dkt. No. 30-19 at 43. He described the risks to their welfare as “unacceptable,” and he

did “not think it prudent, safe, or wise for any sane person to go there for any reason concerning this

case.” Id. Further, a Norwegian attorney, licensed in France and located in Paris, who had

represented Skidmore in a matter before the ICC Arbitration Court, assisted Skidmore in 2007 in

locating a Moroccan attorney to review documents in the case. He testified that the Moroccan

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attorney “repeatedly advised the defendant parties not to enter Morocco,” and “pointedly advised

and warned on more than one occasion that any appearance by Skidmore or any personal

representative of Skidmore in the Moroccan lawsuit would be dangerous.” Dkt. No. 42-10 at 3-4.11

       Weighing all of this evidence, the Court concludes that DeJoria’s fear of traveling to

Morocco was credible, and that the fear arose not from a general danger of traveling in Morocco, but

rather from this specific litigation, and the political and other interests of the Moroccan royal family

in the litigation. Moreover, Mr. Kabbaj’s vague after-the-fact discounting of those fears fails to

counter DeJoria’s evidence, and indeed, it does not even attempt to directly rebut the far more

specific evidence DeJoria offers. Thus, the Court finds that in the circumstances of this particular

case, DeJoria was unable to personally appear to defend himself and offer testimony to rebut the

claims made against him in the Moroccan lawsuit.

               b.      DeJoria’s Abiliy to Retain Counsel

       The parties hotly contest whether the political nature of DeJoria’s case, and the King’s

political interest in the underlying oil exploration project and in the case itself, prevented DeJoria

from being able to obtain legal counsel in the Moroccan proceedings. The Circuit did not address

the issue specific to DeJoria, though it noted that one of DeJoria’s co-defendant’s “did briefly retain

Moroccan attorney Azzedine Kettani until a conflict of interest forced his withdrawal.” DeJoria,

804 F.3d at 383. It also noted that MPE/MFM’s expert Mr. Kabbaj “opined that it is ‘not at all

uncommon’ for Moroccan attorneys to represent unpopular figures in Moroccan courts.” Id. This


       11
          This attorney—Amina Ben Brik—is a bit of an enigma, as the record reflects that she may
have actually represented MFM in this very litigation at one time, though the Norwegian attorney
testified that he hired her on behalf of Skidmore for the limited purpose of reviewing documents.
About the only thing that is clear about her role in this case is that her role is unclear. She is
discussed in more detail in the next section.

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was, of course, a general statement, and said nothing about whether DeJoria himself was able to find

an attorney to represent him in Morocco.12

       A review of the record leads the Court to conclude that DeJoria was in fact unable to retain

counsel to represent him, and again, this was due to the fact that he was a defendant in a case that

was of great political interest to the King of Morocco, and his interests were adverse to the King’s.

First, the only testimony MPE/MFM offer to directly address this point (again, from their retained

expert, Moroccan attorney Azeddine Kabbaj) does not identify any Moroccan attorney that actually

was willing to represent DeJoria in the case. Kabbaj only makes conclusory statements such as “it

is not at all uncommon for Moroccan attorneys to represent unpopular figures in Moroccan courts.”

And though he claims that “there are many attorneys in Morocco who would have been willing to

represent DeJoria,” he notably fails to identify a single one, nor does he even indicate that he would

have represented DeJoria had he been approached. DeJoria’s evidence was more specific. DeJoria

explained that Gustin contacted Bernard Dessaix, a French attorney licensed to practice in Morocco,

about representing their interests in the case. Dkt. No. 30-11 at ¶ 13. After “multiple phone

conferences and letters” Dessaix declined representation, id., and explained the risks an attorney

would face if he or she represented Skidmore, DeJoria or the other defendants in the case:

       Clearly it is not only unsafe for Mr GUSTIN and Mr DEJORJA to go to Morocco in
       a case involving his Highness Prince Moulay Abdellah Alaoui, a first cousin of his
       Majesty King Mohammed VI, King of Morocco, and his partners, but it is also unsafe


       12
          MPE/MFM claim that the Fifth Circuit resolved this issue completely, because the Circuit
noted that under Moroccan law, “DeJoria could have litigated entirely through counsel without
returning to Morocco.” Dkt. No. 129 at 15. As already noted in the text, this comment was made
in the section of the opinion discussing personal jurisdiction, and is merely a statement of law—that
is, under Moroccan law a person is not required to be personally present to defend a case, and he may
appear solely through counsel. The Circuit quite clearly did not find there were Moroccan attorneys
willing to represent DeJoria in this case.

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       and unwise for any lawyer/barrister from any country to go there and plead against
       his Highness Prince Moulay Abdallah Alaoui and his partners to argue that anyone
       descending from the Prophet Mohammed did not keep his word.

       The potential risks to one’s welfare are unacceptable

Dkt. No. 30-19 at 43.

       The record also reflects that in the early days of Skidmore and DeJoria’s involvement in the

Moroccan oil exploration project, Gustin hired the Moroccan attorney Azzedine Kettani to assist

with “reviewing Lone Star’s documents and forms of agreements.” Dkt. No. 30-19 at ¶ 10.

MPE/MFM point to this to argue that Moroccan attorneys were available to, and willing to work for,

DeJoria in the litigation. First, this work was done before the dispute arose. And further, by the

middle of 2001, after the dispute arose, but before the lawsuit was filed, Mr. Kettani withdrew from

any future representation of Lone Star or Skidmore because MFM had attempted to engage another

attorney in the firm—Nadia Kettani—who was apparently unaware of the firm’s previous

representation of Skidmore. When the potential conflict came to light, Azzedine Kettani informed

MFM that his firm could not represent it as it already had an ongoing relationship with Skidmore.

Dkt. No. 37-20 at 6. MFM, through counsel, demanded that Kettani withdraw from representing

Skidmore as well, and Kettani quickly relented. Id. at 4, 5.13 Thus, this firm—which MPE/MFM

describe as “Morocco’s largest independent law firm”—was no longer available to represent DeJoria.

       Next, there is the situation with the mysterious Amina Ben Brik. MPE/MFM assert that Ms.

Ben Brik represented Skidmore in the Moroccan proceedings, relying on two letters, written in

Arabic, and translated into English. The first letter purports to be a notice to the court that she


       13
          DeJoria complains that this was an engineered conflict of interest, intended to conflict out
of the case the one Moroccan attorney he could find to represent him. Though this may have been
true, there is not enough evidence in the record for the Court to reach that conclusion.

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represented Skidmore, and requested approval to copy documents from the file. Dkt. No. 37-23 at

2-4. The second letter, dated nearly a year later, is more cryptic, and is addressed to the expert, and

also refers to her “client Skidmore Energy.” There is, however, no evidence of what, other than send

these letters, Ben Brik did in the case, and, from the record as a whole, it is less than clear who she

was representing in the little involvement she had. As DeJoria points out, the final expert refers in

his report to her being counsel for MPE. Dkt. No. 37-22 at 5. And the Moroccan judgment lends

further confusion, suggesting Ben Brik represented both MPE and Skidmore. Dkt. No. 6-2 at 13.

The most clarity regarding her role comes from the Norwegian attorney who appears to have retained

her, on behalf of Skidmore (not DeJoria), who testified that she was hired for the limited purpose

of trying to gain access to the court file, and to observe proceedings. She was never hired to

represent Skidmore in any other capacity. Dkt. No. 42-10 at 3. Further, the Norwegian attorney

reported that Ben Brik specifically warned that “any appearance by Skidmore or any personal

representative of Skidmore in the Moroccan lawsuit would be dangerous,” which may explain why

the judges and experts in Morocco were never quite clear on who her client was, as she herself may

not have wanted to make that clear. Id. at 4.

       MPE/MFM also point to correspondence in the file between Skidmore’s general counsel and

Moroccan attorney Hammadi Manni as evidence that Moroccan attorneys were willing to represent

Skidmore and the defendants. Dkt. No. 129 at 17. But those letters suggest nothing more than that

Skidmore asked Manni to indicate the terms on which he would represent Skidmore, and then

followed up in another letter indicating that it “look[ed] forward to your reply.” Dkt. No. 37-23 at

9-14. The record contains no other evidence regarding any communication with Manni, and thus

no indication that Manni ever responded to the letters, or if so what he said. And the record is clear



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that Manni never made an appearance for Skidmore, so this evidence actually supports the inference

that Manni ultimately was not willing to appear on Skidmore’s behalf.

       Finally, MPE/MFM note that the American law firm Baker & McKenzie, which has an office

in Morocco, represented DeJoria in this case, and suggests from the fact its Moroccan offices are still

open and no attorneys there have suffered reprisals, that the King must not be too upset about this

matter. But as DeJoria notes, this does not prove that in 2002, when the case against DeJoria was

filed, and shortly after the death threat was delivered, DeJoria could have retained a Moroccan

attorney. Baker & McKenzie opened its small Casablanca office in late 2012, more than two years

after the judgment against DeJoria was entered, and eleven years after DeJoria needed Moroccan

counsel. At best, the fact that Baker & McKenzie—a firm with more than 5,000 attorneys in 44

countries , only two of whom are permanently resident in the Casablanca office—was for a time part

of the team that has represented DeJoria in this proceeding, indicates only that if any pressure was

placed on Baker & McKenzie to decline the representation here in the U.S., it was not sufficient to

lead to it to do so. Further, it is difficult to know what to make of MPE/MFM’s new evidence

showing that Baker & McKenzie’s Paris and Casablanca offices advised Societé Nacionale

d’Investissement in a large M&A transaction in 2016 (MPE/MFM describe SNI as a multi-billion

dollar company controlled by the Moroccan royal family). While one inference that might be drawn

from this is that, at least in 2016, the King of Morocco was not inclined to punish a law firm

representing DeJoria in this case, another inference might be that the King and royal family are

pragmatic, and in 2016, more than 15 years after the events underlying the dispute with Skidmore

and DeJoria, they found it worth their while to have Baker & McKenzie represent one of their

companies in a large international merger from which they stood to benefit greatly, even though the



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royal family was upset that the firm had also represented DeJoria in this case. Whatever the case,

the evidence simply does not show anything about DeJoria’s ability to find an attorney willing to

represent him in Morocco when it mattered—in 2001 and the few years thereafter.

        Again, weighing all the evidence before it, the Court concludes that DeJoria was in fact

unable to retain counsel to represent him during the time the Moroccan case was active, and again,

this was due to the fact that he was a defendant in a case that was of great political interest to the

King of Morocco, and his interests were adverse to the King’s. In reaching this conclusion, the

Court has taken into account not only that which is set out above, but also that numerous Moroccan

attorneys warned DeJoria or his partners of the personal risks they faced if they returned to Morocco,

and that an attorney could face if he represented them, that DeJoria had substantial resources with

which to hire an attorney and yet nevertheless no attorney made an appearance for him, and finally,

that direct evidence of the King’s feelings with regard to those who took up DeJoria’s side of things

was demonstrated in his shutting down a newspaper that dared to suggest that perhaps MPE/MFM’s

narrative of the events with Skidmore, et al. was incorrect (as Judge Nowlin detailed in his

findings).14




        14
          MPE/MFM argue that even if the underlying proceedings suffered from all of these defects,
DeJoria waived any complaint he might have because he did not file an appeal, which would have
led to a de novo review of the case. The problem with this argument is that it assumes DeJoria could
have retained an attorney to file the appeal, and participate in the de novo review. As already found,
that was not the case. So this is not like the cases MPE/MFM cite, where the party who was
contesting recognition of a judgment was not prevented from participating in their appeal, but instead
simply chose to stop fighting in the foreign country, and to bring their fight back to the U.S. Here,
DeJoria was denied the ability to fight the case in Morocco at trial or on appeal.

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               c.      The Independence of the Experts

       Lastly, the evidence in the record shows that the Moroccan court was determined to award

damages against DeJoria, even when the very experts the court retained advised otherwise.

Specifically, the Moroccan court record indicates that over the seven years that the case remained

pending, the court retained five experts to advise the court on whether any damages had been

suffered as a result of the defendants’ allegedly wrongful acts. After reciting in detail that experts

were engaged to “determine the value of the damages and losses that may have been incurred by the

Claimants as a result of the Defendants’ actions,” the judgment notes that reports were submitted by

three experts—Saleh Al-Ghazouli, Al-Saadiya Fatthi, and Mohamed Al-Karimi. Dkt. No. 6-2 at 11.

These three experts, according to the judgment “concluded that they could not provide any firm

opinion on the matter.” Id. at 13. So, rather than entering judgment that the claimants take nothing,

the court “ordered a new assessment and assigned the task to expert Saad Al-Omani.” Id. And what

was this expert’s assessment? We do not know, because the judgment states, without explanation,

that he was too was replaced, this time by Ahmed A-Khardal, the fifth expert to be engaged by the

court. Khardal submitted his report on January 22, 2009, and was the first of the experts to conclude

that there were damages incurred. This time, there was no dismissal of the expert, and by the end

of 2009, the Moroccan court entered judgment against Gustin and DeJoria for 98% of the damages

Khardal recommended. Id.

       MPE/MFM attempt to discount all of this, through their retained expert Kabbaj, and

American lawyer and adjunct law professor Abed Awad. The majority of the experts’ testimony on

these issues does not address the precise point before the Court, but instead discusses non-

controversial issues such as it being common for legal systems like Morocco’s to retain experts for



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the purposes for which the experts were retained in DeJoria’s case. Further, their testimony

discusses the procedural protections parties have in Morocco with regard to experts, such as the right

to nominate or object to experts. Such procedural protections were of little value to DeJoria,

however, given the Court’s conclusion that DeJoria could not appear or retain counsel to represent

him in the case; regardless, they say nothing about whether what happened in this case was fair.

Further, MPE/MFM not very subtly suggest that the first three experts may have been dismissed

because they failed to do any work in the case, or failed to do it timely. Dkt. No. 129 at 26 (quoting

Kabbaj’s testimony that “[i]f the expert does not turn in his report within the time frame set by the

commercial court judge or if the expert does not accept the assignment, then the commercial court

judge usually will appoint another expert and inform the parties accordingly.”). But there is no need

to speculate about why the experts were dismissed, because the judgment says what happened—the

three experts “concluded that they could not provide any firm opinion on the matter.” Dkt. No. 6-2

at 13. That is a gentle way of saying the three experts could not recommend that any damages be

awarded. And MPE/MFM’s claim that the fourth expert was dismissed because he was ill has no

factual basis, other than the bald statement contained in Awad’s affidavit that “at least one of [the

experts] became ill and was replaced.” Dkt. No. 37-2 at 18 ¶ 48(l). Awad offers no explanation of

where that information comes from. The judgment—which is far more credible evidence—says only

that after the first three experts were unable to recommend any damages, “the court ordered a new

assessment and assigned the task to expert Saad Al-Omani, who was subsequently replaced by expert

Ahmed A-Khardal.” Dkt. No. 6-2 at 13.

       In isolation, this history may not be troubling. But when taken in conjunction with the other

evidence—the King’s intense interest in the case, the death threat, the recommendation of Moroccan



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attorneys that DeJoria stay out of Morocco, the unwillingness of attorneys to represent DeJoria, the

closing of the newspaper that reported on the energy project in a manner unfavorable to the King and

the threatening of the paper’s editor and publisher with criminal charges—the sequence of events

with regard to the experts takes on far more significance, and is yet one more piece of evidence

leading the Court to conclude that the specific proceedings in the Moroccan court leading to the

judgment against DeJoria were not compatible with due process. Thus, while MPE/MFM point to

the existence of experts, the seven-year tenure of the case, the exoneration of the defunct corporate

entities, and the two percent reduction in the final expert’s damage calculation as evidence that

DeJoria received due process, this would appear to be more spin than fact. Instead, the number of

experts engaged, and the length of time the case was pending appears to be evidence of the difficulty

the commercial court judges had in coming up with a colorable basis on which to impose liability

on Gustin and DeJoria, and the struggle they had finding an expert to support an award of damages.

       5.      Conclusions

       Based upon the findings made by Judge Nowlin, and those made herein, the Court finds that

DeJoria has presented sufficient evidence to demonstrate that “the specific proceeding in the foreign

court leading to the judgment was not compatible with the requirements of due process of law.”

Amended Act § 36A.004(c)(8). The facts demonstrate that DeJoria was denied an impartial tribunal

because the royal family had a clear political interest in the outcome of the underlying case which

“was not compatible with the requirements of due process of law.” The Comments to the 2005

Uniform Act provide that non-recognition will be satisfied by “a showing that for political reasons

the particular party against whom the foreign-country judgment was entered was denied fundamental

fairness in the particular proceedings leading to the foreign-country judgment.” § 4 cmt. ¶ 12



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(emphasis added.) This is the situation in the case at bar. The failed oil exploration project was a

significant political embarrassment for the King. This in turn led to a death threat being lodged

against DeJoria and him having to remain outside of Morocco, to him being unable to find an

attorney willing to represent him in the dispute, and thus to MPE/MFM being completely unopposed

in their suit. Despite the lack of opposition, the court struggled to find an expert who would certify

the award of any damages, but the Court doggedly persisted until such an expert was located, and

once located, awarded 98% of what he recommended. The ability to appear, either in person or

through counsel, is a fundamental requirement of due process, as is a fair tribunal that acts

independently of political influence. All of that was lacking here. Section (c)(8) presents a

discretionary ground for non-recognition, and, as Judge Nowlin found in the initial proceedings, the

Court once again believes that the proper exercise of its discretion in this case is to grant the motion

for non-recognition.15

                                   IV.   RECOMMENDATION

        The undersigned RECOMMENDS that the District Court GRANT John Paul DeJoria’s

Motion For Non-Recognition under § 36A.004(c)(8) of the Texas Uniform Foreign-Country Money

Judgments Recognition Act (Dkt. No. 128).




       15
           DeJoria also requests non-recognition based on § 36A.004(c)(7) of the Amended Act, which
applies to cases that “raise substantial doubt about the integrity of the rendering court with respect
to the judgment.” Given the findings regarding the pressures on Moroccan judges in cases involving
political issues impacting the King, as well as the findings on there being musical chair experts, there
may be sufficient evidence to support a (c)(7) finding. But because the finding under (c)(8) is
stronger, and sufficient in its own right to support this outcome, the Court will not reach that issue.
Likewise, for the same reason, the Court need not reach the public policy argument under (c)(3), nor
decide whether there is an independent Due Process right to non-recognition, and if that argument
is subsumed within the terms of subsection (c)(8) of the Amended Act.

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                                         V. WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections. See

Battle v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party's failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the Report

shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court. 28 U.S.C. § 636(b)(1)(c); Thomas v. Arn, 474 U.S. 140, 150-53, 106 S. Ct. 466, 472-

74 (1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

       SIGNED this 26th day of February, 2018.



                                             _____________________________________
                                             ANDREW W. AUSTIN
                                             UNITED STATES MAGISTRATE JUDGE




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